                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

 MISSOURI PRIMATE FOUNDATION,                    )
 et al.,                                         )
                                                 )
               Plaintiffs and                    )
               Counterclaim Defendants,          )
                                                 )
 v.                                              )         Case No. 4:16-cv-02163
                                                 )
 PEOPLE FOR THE ETHICAL                          )
 TREATMENT OF ANIMALS, INC., et al.,             )
                                                 )
               Defendants and                    )
               Counterclaim Plaintiffs.          )

                                   [PROPOSED] ORDER

       Before the Court is Counterclaim Plaintiff Angela Scott’s Motion for Leave to Testify

Remotely, Pursuant to Rule 30(b)(4) of the Federal Rules of Civil Procedure, allowing her to be

deposed via video-conference.

       Good cause appearing, IT IS HEREBY ORDERED that the motion is GRANTED.


Date: __________________________                     _________________________
                                                     CATHERINE D. PERRY
                                                     UNITED STATES DISTRICT JUDGE
